          Case 1:22-cr-00143-NODJ-BAM Document 23 Filed 06/03/22 Page 1 of 3

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 6 United States of America

 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,
                                                       CASE NO. 1:22-CR-00143-DAD-BAM
11                          Plaintiff,
12                                                     MOTION AND ORDER TO UNSEAL
              v.                                       INDICTMENT
13
     FRANCISCO JAVIER TOVAR TRONCOSO
14   and
     ERNESTO TOVAR TRONCOSO,
15

16                          Defendants.

17          The Indictment in this case, having been sealed by Order of the Court on May 19, 2022, and
18 subsequently redacted and filed as redacted as to co-defendants Arturo Yanez, Jr. and Mario Reyes, no

19 longer needs to remain sealed as to the above-named defendants, who were arrested this date.

20          The United States of America, by and through Phillip A. Talbert, United States Attorney, and
21 Karen A. Escobar, Assistant United States Attorney, therefore moves that the original Indictment in this

22 case and the docket as to defendants Francisco Javier Tovar Troncosco and Ernesto Tovar Troncoso be

23 unsealed and made public record.

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      MOTION AND PROPOSED ORDER TO UNSEAL              1
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         Case 1:22-cr-00143-NODJ-BAM Document 23 Filed 06/03/22 Page 2 of 3

 1   Dated: June 2, 2022                         PHILLIP A. TALBERT
                                                 United States Attorney
 2

 3
                                           By: /s/ Karen A. Escobar
 4                                             KAREN A. ESCOBAR
                                               Assistant United States Attorney
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     MOTION AND PROPOSED ORDER TO UNSEAL     2
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          Case 1:22-cr-00143-NODJ-BAM Document 23 Filed 06/03/22 Page 3 of 3

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 8
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,
                                                     CASE NO. 1:22-CR-00143-DAD-BAM
12                              Plaintiff,

13                        v.                         ORDER TO UNSEAL INDICTMENT

14   FRANCISCO JAVIER TOVAR TRONCOSO
     and
15   ERNESTO TOVAR TRONCOSO,

16                              Defendants.

17

18         Pursuant to the motion by the United States, IT IS HEREBY ORDERED that the original

19 Indictment filed on May 19, 2022, and docket pertaining to defendants Francisco Javier Tovar Troncoso

20 and Ernesto Tovar Troncoso, be unsealed and become public record.

21
     IT IS SO ORDERED.
22

23      Dated:    June 3, 2022                            /s/ Barbara A. McAuliffe           _
                                                    UNITED STATES MAGISTRATE JUDGE
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      MOTION AND PROPOSED ORDER TO UNSEAL             3
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